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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Plaintiffs,                                               Case No. 1:20-cv-1141

 v.                                                               HON. JANET T. NEFF

 GRETCHEN WHITMER, et al.,

        Defendants.

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 STATE OF MICHIGAN, et al.,

        Plaintiffs,
                                                                  Case No. 1:20-cv-1142
 v.
                                                                  HON. JANET T. NEFF
 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Defendants.

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                                           ORDER

       Pending before the Court is a September 14, 2021 Motion to Enforce Notice of

Appointment of Facilitative Mediator (ECF No. 31, Case No. 1:20-cv-1141; ECF No. 62, Case

No. 1:20-cv-1142) filed by the State of Michigan, Governor Gretchen Whitmer, and the Michigan

Department of Natural Resources (collectively “the State Parties”). Enbridge Energy, Limited

Partnership; Enbridge Energy Company, Inc.; and Enbridge Energy Partners, L.P. (collectively

“the Enbridge Parties”) filed a response in opposition to the State Parties’ motion (ECF No. 36,

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Case No. 1:20-cv-1141; ECF No. 66, Case No. 1:20-cv-1142). For the following reasons, the

Court dismisses the motion as moot.

           The parties in these two related cases have participated in several Voluntary Facilitative

Mediation (VFM) sessions with their appointed mediator. On September 14, 2021, the parties

filed their most recent Joint Notice and Status Report, indicating that their September 9, 2021

session was “completed without a settlement” (ECF No. 30, Case No. 1:20-cv-1141; ECF No. 61,

Case No. 1:20-cv-1142). That same day, the State Parties filed the Motion to Enforce Notice of

Appointment of Facilitative Mediator, seeking to prevent the filing of a submission from the

mediator that they anticipated would contain his recommendations to the Court concerning the

continuation of the mediation process. The mediator subsequently filed a Report Following

Voluntary Facilitative Mediation (“the Report”), indicating only that mediation is “continuing,”

with the date of any next session “to be determined” (ECF No. 34, Case No. 1:20-cv-1141). 1 Since

the filing of the prescribed Report, the mediator has not filed any other document.

           Further, given the apparent breakdown in the VFM process, the Court discerns no need for

receipt of recommendations about its continuation, even assuming the propriety of such a filing.

While the Enbridge Parties indicate their willingness to continue to work towards a mutually

acceptable resolution, the State Parties filed a “response” to the mediator’s Report indicating that

they have “no desire to continue with the mediation process” and requesting that the Court treat

the process as “completed without a settlement” (ECF No. 35 at PageID.230-231, Case No. 1:20-

cv-1141; ECF No. 65 at PageID.942-943, Case No. 1:20-cv-1142).                Voluntary facilitative

mediation necessarily requires voluntary participation by both parties. The Court determines from




1
    A report was not filed in Case No. 1:20-cv-1142.
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the parties’ filings that the formal VFM process is at least at a standstill, although the parties remain

under a continuing obligation to engage in good faith to resolve this case.

        For these reasons, the Court determines that the State Parties’ Motion to Enforce Notice of

Appointment of Facilitative Mediator is properly dismissed as moot. Accordingly:

        IT IS HEREBY ORDERED that the Motion to Enforce Notice of Appointment of

Facilitative Mediator (ECF No. 31, Case No. 1:20-cv-1141; ECF No. 62, Case No. 1:20-cv-1142)

is DISMISSED as moot.


Dated: September 21, 2021                                         /s/ Janet T. Neff
                                                                JANET T. NEFF
                                                                United States District Judge




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